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September 6, 2024 = . ee

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VIA ECF AND EMAIL . ~ the bo . “
Hon. John G. Koeltl Ese Mecedidl at PCED of a
United States District Judge bbe att ner wt they sec Bergland)
United States District Court, Southern District g New York :

500 Pearl Street
New York, N¥ 10007

MA Luvs €

Re: Raanan et al. v. Binance Holdings Limited et al., 1:24-cv-00697-S

A yD pled?
Dear Judge Koeltl: G / ? Ly A b/c CED

Pursuant to Rules 1.A and I.F of Your Honor’s Individual Practices, we rite on behalf of
Plaintiffs to bring to the Court’s attention the recently unsealed complaint filed by the Department
of Justice in United States of America v. Haniyeh et al., 24-MAG-438 (S.D.N.Y.) (DOJ
Complaint”) and to seek the Court’s leave to file the below sur-reply (infra Section ID) as to how
the DOJ Complaint supports the Court’s denial of Defendants’ Motion to Dismiss. !

1, The DOJ’s Charges Against Hamas’ Senior Leaders Are Tied To Cryptocurrency

On September 3, 2024, the DOJ unsealed the DOJ Complaint, making public that it had
brought charges against various senior leaders of Hamas related to their central role in planning,
supporting, and perpetrating the October 7 Attacks, including (i) conspiracy to finance terrorism;
(ii) conspiracy to provide material support to a FTO resulting in death; (iii) conspiracy to provide
material support for acts of terrorism resulting in death; (iv) conspiracy to violate [EEPA; (v)
conspiracy to murder U.S. nationals; (vi) conspiracy to bomb a place of public use resulting in
death; and (vii) conspiracy to use weapons of mass destruction resulting in death. Core to these
charges are allegations related to Hamas’ use of cryptocurrency, with the DOJ setting forth that:

Hamas raises money to fund its terrorist activities ... by soliciting and

_ receiving cryptocurrency payments, advertising the ostensible anonymity
of such transactions. Since 2019, Hamas’ military wing has used social
media and other platforms to call for cryptocurrency contributions from
supporters abroad, including in the United States, to Hamas-controlled
virtual wallets, explicitly acknowledging that these payments would be
used to fund Hamas’ campaign of violence. Through these mechanisms,
Hamas has received tens of millions of dollars in cryptocurrency
payments to fund its activities.

| Capitalized terms not defined herein have the same meanings as ascribed to them in Plaintiffs’ First Amended
Complaint (ECF 17, “FAC”) and Plaintiffs’ Memorandum of Law in Opposition to Defendants’ Motion to Dismiss
(ECF 29, “Plaintiffs Brief’), References to “and “DOJ f° are to paragraphs of the FAC and the DOJ Complaint,
respectively, References to “PI. Br.,” “Def. Br.,” and “Reply Br.” are to Plaintiffs’ Brief, Defendants’ Memorandum
of Law in Support of their Motion to Dismiss (ECF 19), and Defendants’ Reply Memorandum of Law in Support of
their Motion to Dismiss (ECF 28), respectively. All emphasis is added, A copy of the DOJ Complaint is filed
contemporaneously herewith as “Exhibit 1.”

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DOJ {18(c). Indeed, “cryptocurrency” appears prominently in the DOJ Complaint’s overview
section and is mentioned 17 times throughout the document. Five of the document’s 38 pages
discuss the role of cryptocurrency in Hamas’ efforts to fund its.terrorist activities.

In connection with Hamas’ use of crypto, the DOJ Complaint sets forth the following:

e “Beginning in or about 2019, the al-Qassam Brigades issued a call on
their social media page for Bitcoin donations to help fund Hamas’s
campaign of terror. These websites explained to supporters how to make
Bitcoin donations anonymously and boasted that Bitcoin donations were
untraceable and would be used for violent causes. The al-Qassam
Brigades have actively solicited cryptocurrency funding on their official

websites.” DOJ 27(a).

e “By July 2021, following Hamas’s attacks on Israel earlier that year ...
cryptocurrency wailets affiliated with a Hamas fundraising campaign
seized by Israeli government authorities had received more than $7.7
million worth of contributions, and held a variety of cryptocurrencies,
including Bitcoin, Tether, Ether, Tron, and Dogecoin. One of the seized
wallet addresses belonged to Buy Cash Money and Money Transfer
Company (“Buy Cash”), @ Gaza-based business that provides money
transfer and virtual currency exchange services for a number of terrorist
groups and their affiliates, including Hamas.” DOJ {27(c).

e Prior to the Attacks, “an administrator of a Hamas-affiliated entity posted
a cryptocurrency wallet address to a social media network seeking funding
for ‘brothers’ and accompanied by a photograph ofa terrorist fighter. Over
the period of 2019 to the present, this Hamas-affiliated entity, and its
associates, raised millions of dollars from individuals around the world,
including by receiving funds from individuals via transfers through a
U.S.-based financial technology company. Some of the individuals sent
messages accompanying their funds. For example, in or about May 2023,
one individual wrote the following message to accompany the funds sent
to the Hamas-affiliated entity’s associate: ‘Oh Allah, grant our brothers in
Gaza victory and grant them patience and strength!” DOJ §27(d).

Ii. The DOJ’s Crypto Allegations Support The Denial Of The Motion To Dismiss

On several fronts, the DOJ’s cryptocurrency allegations accord with the FAC’s, such that,
‘n addition to Plaintiffs’ arguments set forth in their Opposition Brief, the DOJ Complaint further
supports the Court’s denying Defendants’ Motion to Dismiss. First, the DOJ Complaint explicitly
ties Hamas’ solicitations and use of eryptocurrency to Hamas’ terroristic violence and the October
7 Attacks. DOJ 1 8(f), 27(c)-(d), (f). Whereas Defendants seek to minimize the significance of
the assistance Defendants provided to Hamas and PI in terms of its effect on Hamas’ ability to
carry out the Attacks (Def. Br. at 14, 17-18), the DOS’s allegations provide additional credence

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to the FAC’s allegations of the causal link between the $60 million transacted by FTOs (and the
$100 million transacted by FTOs and their affiliates) and the October 7 Attacks. Compare {§193-
98, 226-27 (“[L]eading up to the October 7 Terrorist Attacks, these Hamas-Affiliated wallets
transferred a staggering amount of money on Binance — at least approximately $101 million.”)
with DOJ {1 8(c)-(e) (‘Through these mechanisms, Hamas has received tens of millions of
dollars in cryptocurrency payments to fund its activities ... Hamas has pursued its objectives
through terrorist attacks and other acts of brutal violence ... On October 7, 2023, Hamas
committed its most violent, large-scale terrorist attack to date ...”). Indeed, the DOJ’s allegations
that Hamas-affiliated individuals and entities promised to use crypto transactions to fund attacks
(DOI §926(ayi)-Cii), 27(a)-(b), (d)-(e)) further support Plaintiffs’ allegations that Defendants
knew terrorists were using Binance to support their violent objectives. 182-92, 200-31.

Second, the DOJ Complaint specifically identifies BuyCash as a known Hamas affiliate
since no later than July 2021 and that BuyCash transacted millions of dollars in crypto on
Hamas’ behalf prior to the Attacks. DOJ {27(c). This accords with the FAC’s allegations. that
Binance transacted with BuyCash for more than two years after its affiliation with Hamas was
made public, supporting Defendants’ awareness of their culpable conduct before the Attacks.
11196, 207, 226 (in June 2021, Israel seized a BuyCash wallet used for Hamas fundraising).

Third, the DOI Compiaint specifically sets forth that Hamas alone (as opposed to Hamas
and PI, collectively; and/or these FTOs and their affiliates, collectively) received tens of millions
of dollars in crypto payments to fund its terroristic violence. DOJ {18(c). Whereas Defendants
cast procedurally inapposite aspersions on the credibility of Plaintiffs’ blockchain analysis (Def.
Br. at 7, 9; Reply at 8-9), that Plaintiffs’ and the DOJ’s independent blockchain analyses
converged on similar amounts and overlapping actors supports the fundamental plausibility and
accuracy of both Plaintiffs’ and the DOJ’s analyses. {{f3, 194, 209; Pl. Br. at 6, 8, 12.

As the DOJ continues to investigate Hamas and its use of crypto, it is likely that the new
information uncovered will provide further support for Plaintiffs’ claims against Defendants. As
to this proposed sur-reply, Defendants are not prejudiced, as the information set forth in the DOJ
Complaint is new to all parties, and Defendants may respond to Plaintiffs’ letter with their own.

Respectfully submitted,

/s/ Jake Nachmani

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